                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                         )
                                               )
ANDY LAMAR ALLMAN                              )       CASE NO. 17-03085-CW3-7
                                               )
                Debtor                         )
                                               )
ROBERT H. WALDSCHMIDT,                         )
TRUSTEE                                        )
                                               )
                Plaintiff                      )       ADV. PROC. NO.
                                               )
vs.                                            )
                                               )
ANDY LAMAR ALLMAN                              )
                                               )
                Defendant                      )


                             COMPLAINT TO DENY DISCHARGE

         Comes now the Trustee in the above-captioned matter, and files this action against the

Debtor to deny his discharge under 11 U.S.C. §727(a), and would state as follows:

         1.    Andy Lamar Allman (“Debtor”) filed a voluntary petition under Chapter 13 on

               May 3, 2017; that case was converted to Chapter 7 on July 28, 2017, and Robert H.

               Waldschmidt (“Trustee”) was appointed as trustee in the Chapter 7 proceeding.

         2.    Pursuant to order of the Court on July 10, 2017 (Docket #22), the Court ordered the

               Debtor to “file with the Clerk of the Court on or before July 19, 2017, all verified

               statements and schedules required under Chapter 13 of the Bankruptcy Code.”

         3.    The Debtor did not comply with the Court’s July 10, 2017 order, and did not file

               any schedules or documents with the Court until December 11, 2017.




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     4.    At the §341 hearing on February 12, 2018, the Debtor was asked several questions

           concerning the disposition of funds which had been delivered to him, in trust for

           clients.

     5.    The Debtor offered no explanation, and instead pleaded his rights under the 5th

           Amendment.

     6.    The Debtor has not explained his losses of assets.

     7.    The Debtor entered into a loan agreement with Roger Sindle in 2016, whereby he

           pledged personal property as collateral; the funds were allegedly paid to the Debtor

           through several cashier’s checks.

     8.    At the §341 hearing on February 12, 2018, the Debtor was asked about the

           cashier’s checks, and testified that the cashier’s checks were not made payable to

           him, but to various different creditors/parties.

     9.    When asked if he had copies of those cashiers checks, or any records relating to

           those checks, the Debtor indicated that he did not have any records related to that

           transaction.

PREMISES CONSIDERED, PLAINTIFF PRAYS:

     1.   That process issue against the above-captioned Defendant, and that he be required to

          appear and defend this action.

     2.   That the Court deny the discharge of the Debtor pursuant to 11 U.S.C. §727(a)(6)

          for his failure to comply with a lawful Court order.

     3.   That the Court deny the discharge of the Debtor pursuant to 11 U.S.C. §727(a)(5)

          for his failure to explain the losses of assets.




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      4.   In the alternative, in the event that the Debtor does satisfactorily explain the

           disposition of funds placed under his control, and if the disposition of said funds

           constitutes a transfer with actual intent to hinder, delay, or defraud his creditors, that

           the Court deny the discharge of the Debtor pursuant to 11 U.S.C. §727(a)(2) as a

           fraudulent conveyance.

      5.   That the Court deny the discharge of the Debtor pursuant to 11 U.S.C. §727(a)(3),

           for his failure to keep adequate records of the Roger Sindle transaction.

      6.   For such other and further relief as is appropriate.



                                             RESPECTFULLY SUBMITTED,

                                             /s/ Robert H. Waldschmidt
                                             ROBERT H. WALDSCHMIDT #4657
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